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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

LARRY JONES, et al.,

      Plaintiffs,                                  Case No. 21-cv-10441
                                                   Hon. Matthew F. Leitman
v.

CITY OF DETROIT, et al.,

     Defendants.
__________________________________________________________________/

        ORDER DIRECTING PARTIES TO ATTEND MEDIATION

      IT IS HEREBY ORDERED that the parties shall attend a private mediation

presided over by Allan Charlton, a mediator jointly selected by the parties. At the

conclusion of the mediation, the parties shall update the Court’s Case Manager on

the results of the mediation.

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE
Dated: October 17, 2023

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on October 17, 2023, by electronic means and/or
ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126



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